            Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 1 of 48



                              UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MARYLAND
                                   NORTHERN DIVISION


TRACY SANDERS, individually and on
behalf of all others similarly situated,
                                                   CASE NO.: ____________
Contact through attorneys: Mason LLP, 5335
Wisconsin Ave. NW, Ste. 640, Washington,           CLASS ACTION COMPLAINT
DC 20015

County of Residence: Harford County, MD            JURY TRIAL DEMANDED

                Plaintiff(s),

v.

MEDSTAR HEALTH, INC,

Address: 10980 Grantchester Way, 6th Floor,
Columbia, MD 21044

County of Residence: Howard County, MD


                Defendant.




                                CLASS ACTION COMPLAINT

       1.       Plaintiff(s) Tracy Sanders (“Plaintiff(s)”), individually and on behalf of all others

similarly situated, bring this action against Defendant MedStar Health, Inc. (“MedStar” or

“Defendant”) to obtain damages, restitution, and injunctive relief from Defendant. Plaintiff(s)

make the following allegations upon information and belief, except as to their own actions, the

investigation of their counsel, and facts that are a matter of public record.

                                  NATURE OF THE ACTION
              Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 2 of 48



         2.        This class action arises out of Defendant MedStar’s failures to properly secure,

safeguard, encrypt, and/or timely and adequately destroy Plaintiff(s)’ and Class Members’

sensitive personal identifiable information that it had acquired and stored for its business purposes.

This failure to secure and monitor its network resulted in 10-month long data breach (“Data

Breach”) of highly sensitive documents and information stored on the computer network of

MedStar, an organization that provides medical treatment and/or employment to individuals,

including Plaintiff(s) and Class Members.

         3.        Defendant’s data security failures allowed a targeted cyberattack beginning around

January 2023 to compromise Defendant’s network (the “Data Breach”) that contained personally

identifiable information (“PII”) and protected health information (“PHI”) (collectively, “the

Private Information”) of Plaintiffs and other individuals (“the Class”).

         4.        According to a notice MedStar sent to the Department of Health and Human

Services Office for Civil Rights (“HHS”) on or about May 3, 2024, about 183,079 people have

been affected. 1

         5.        According to a notice on its website, Defendant confirmed that a “data incident”

occurred on its network between January 25, 2023 and October 18, 2023.

         6.        Defendant’s website notice states: “We discovered that an outside party had

accessed emails and files associated with three MedStar Health employee email accounts. The

unauthorized access occurred intermittently between January 25, 2023 and October 18, 2023. On

March 6, 2024, after conducting a forensic analysis of the unauthorized access, we determined that

patient information was included in the emails and files that were accessed.” 2




1
    https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last accessed May 10, 2024).
2
    https://www.medstarhealth.org/notice-of-data-incident (last accessed May 10, 2024).
                                                   2
               Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 3 of 48



          7.       Despite learning of the Data Breach in or about October 2023, and determining that

Private Information was involved in the breach beginning on January 25, 2023, Defendant did not

begin sending notices of the Data Breach (the “Notice of Data Breach Letter”) until May 3, 2024.

          8.       The Private Information compromised in the Data Breach included certain personal

or protected health information of current and former employees and patients, including

Plaintiff(s). This Private Information included, but is not limited to: patients’ names, mailing

address, dates of birth, date(s) of service, provider name(s), and/or health insurance information. 3

          9.       The Private Information compromised in what MedStar refers to as a “data

incident” in which it “discovered that an outside party had accessed emails and files associated

with three MedStar Health employee email accounts.” 4 In other words, the cybercriminals

intentionally targeted MedStar for the highly sensitive Private Information it stores on its computer

network, attacked the insufficiently secured network, then exfiltrated highly sensitive PII and PHI,

including but not limited to Social Security numbers. As a result, the Private Information of

Plaintiff(s) and Class remains in the hands of those cyber-criminals.

          10.      The Data Breach was a direct result of Defendant’s failure to implement adequate

and reasonable cyber-security procedures and protocols necessary to protect individuals’ Private

Information with which it was entrusted for either treatment or employment or both.

          11.      Plaintiff(s) bring this class action lawsuit on behalf of themselves and all others

similarly situated to address Defendant’s inadequate safeguarding of Class Members’ Private

Information that it collected and maintained, and for failing to provide timely and adequate notice

to Plaintiff(s) and other Class Members that their information had been subject to the unauthorized




3
    Id.
4
    See Plaintiff Notice Letter, attached as Exhibit A.
                                                    3
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 4 of 48



access of an unknown third party and including in that notice precisely what specific types of

information were accessed and taken by cybercriminals.

       12.     Defendant maintained the Private Information in a reckless manner. In particular,

the Private Information was maintained on Defendant MedStar’s computer network in a condition

vulnerable to cyberattacks. Upon information and belief, the mechanism of the Data Breach and

potential for improper disclosure of Plaintiff(s)’ and Class Members’ Private Information was a

known risk to Defendant, and thus Defendant was on notice that failing to take steps necessary to

secure the Private Information from those risks left that property in a dangerous condition.

       13.     Defendant disregarded the rights of Plaintiff(s) and Class Members (defined below)

by, inter alia, intentionally, willfully, recklessly, or negligently failing to take adequate and

reasonable measures to ensure its data systems were protected against unauthorized intrusions;

failing to disclose that it did not have adequately robust computer systems and security practices

to safeguard Plaintiff(s)’ and Class Members’ Private Information; failing to take standard and

reasonably available steps to prevent the Data Breach; and failing to provide Plaintiff(s) and Class

Members with prompt and full notice of the Data Breach.

       14.     In addition, Defendant MedStar failed to properly monitor the computer network

and systems that housed the Private Information. Had MedStar properly monitored its property, it

would have discovered the intrusion sooner rather than allowing cybercriminals almost a month

of unimpeded access to the PII and PHI of Plaintiff(s) Class Members.

       15.     Plaintiff(s)’ and Class Members’ identities are now at risk because of Defendant’s

negligent conduct since the Private Information that Defendant MedStar collected and maintained

is now in the hands of data thieves.




                                                 4
            Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 5 of 48



          16.   Armed with the Private Information accessed in the Data Breach, data thieves can

commit a variety of crimes including, e.g., opening new financial accounts in Class Members’

names, taking out loans in Class Members’ names, using Class Members’ information to obtain

government benefits, filing fraudulent tax returns using Class Members’ information, filing false

medical claims using Class Members’ information, obtaining driver’s licenses in Class Members’

names but with another person’s photograph, and giving false information to police during an

arrest.

          17.   As a result of the Data Breach, Plaintiff(s) and Class Members have been exposed

to a heightened and imminent risk of fraud and identity theft. Plaintiff(s) and Class Members must

now and for years into the future closely monitor their financial accounts to guard against identity

theft.

          18.   Plaintiff(s) and Class Members may also incur out of pocket costs for, e.g.,

purchasing credit monitoring services, credit freezes, credit reports, or other protective measures

to deter and detect identity theft.

          19.   Through this Complaint, Plaintiff(s) seek to remedy these harms on behalf of

themselves and all similarly situated individuals whose Private Information was accessed during

the Data Breach (the “Class”).

          20.   Accordingly, Plaintiff(s) brings this action against Defendant seeking redress for

its unlawful conduct, and asserting claims for: (i) negligence, (ii) negligence per se, (iii) breach of

implied contract, (iv) breach of fiduciary duty; and (v) unjust enrichment, and (vi) declaratory

relief.

          21.   Plaintiff(s) seek remedies including, but not limited to, compensatory damages,

reimbursement of out-of-pocket costs, and injunctive relief including improvements to


                                                  5
          Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 6 of 48



Defendant’s data security systems, future annual audits, as well as long-term and adequate credit

monitoring services funded by Defendant, and declaratory relief.

                                             PARTIES

       22.     Plaintiff Tracy Sanders is and at all times mentioned herein was an individual

citizen of the State of Maryland, residing in the city of Forest Hill, and was a patient of MedStar.

Plaintiff Sanders received notice of the Data Breach dated May 3, 2024, attached in Exhibit A.



       23.     MedStar Health, Inc. is a Maryland non-stock corporation that has its principal

place of business at 10980 Grantchester Way, 6th floor, Columbia, Maryland 21044. It can be

served through its registered agent, The Corporation Trust, at 2405 York Road, Suite 201,

Lutherville Timonium, Maryland 21093.

                                 JURISDICTION AND VENUE

       24.     This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1332(d) because this is a class action wherein the amount in controversy exceeds the sum or value

of $5,000,000, exclusive of interest and costs, there are more than 100 members in the proposed

class, and at least one member of the class is a citizen of a state different from Defendant.

       25.     The Court has general personal jurisdiction over Defendant because, personally or

through its agents, Defendant operates, conducts, engages in, or carries on a business or business

venture in this State; it is registered with the Secretary of State as a corporation; it maintains its

headquarters in Maryland; and committed tortious acts in Maryland.

       26.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because it is the district

within which MedStar Healthcare is headquartered and has the most significant contacts.

                                  FACTUAL ALLEGATIONS


                                                  6
            Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 7 of 48



                                       Defendant’s Business

        27.     Defendant MedsStar is “the largest healthcare provider in Maryland and the

Washington, D.C., region.” 5

        28.     The MedStar system includes “more than 300 care locations include 10 hospitals,

33 urgent care clinics, ambulatory care centers, and primary and specialty care providers. [It is]

also home to the MedStar Health Research Institute and a comprehensive scope of health-related

organizations.” 6

        29.     MedStar has more that 33,000 employees, including “physicians, nurses, and many

other clinical and non-clinical associates.” 7

        30.     MedStar offers a wide range of services including primary care, urology, behavioral

health, bariatrics, sports medicine, women’s care, dermatology, and much more. 8

        31.     MedStar has more than 300 healthcare locations in Maryland, Virginia, and

Washington DC. 9

        32.     For the purposes of this Class Action Complaint, all of MedStar’s associated

locations will be referred to collectively as “MedStar.”

        33.     In the ordinary course of receiving medical care services from Defendant MedStar,

or alternatively being employed by MedStar, each patient and employee must provide (and

Plaintiff(s) did provide) Defendant MedStar with sensitive, personal, and private information, such

as their:

        •       Name, address, phone number, and email address;



5
  https://www.medstarhealth.org/about/facts-and-figures (last accessed May 10, 2024).
6
   Id.
7
   Id.
8
   https://www.medstarhealth.org/services (last accessed May 10, 2024).
9
   https://www.medstarhealth.org/ (last accessed May 10, 2024).
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              Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 8 of 48



          •       Date of birth;

          •       Social Security number;

          •       Marital status;

          •       Employer with contact information;

          •       Primary and secondary insurance policy holders’ name, address, date of birth, and

                  Social Security number;

          •       Demographic information;

          •       Driver’s license or state or federal identification;

          •       Information relating to the individual’s medical and medical history;

          •       Insurance information and coverage; and

          •       Banking and/or credit card information.

          34.     Defendant also creates and stores medical records and other protected health

information for its patients, records of treatments and diagnoses.

          35.     Upon information and belief, MedStar’s HIPAA Notice of Privacy Practices

(“Privacy Policy”) is provided to every patient both prior to receiving treatment and upon

request. 10 MedStar’s Privacy Notice makes clear that it understands that its patients’ Private

Information is personal and must be protected by law.

          36.     Defendant MedStar agreed to and undertook legal duties to maintain the protected

health and personal information entrusted to it by Plaintiff(s) and Class Members safely,

confidentially, and in compliance with all applicable laws, including the Federal Trade

Commission Act (“FTCA”), 15 U.S.C. § 45, and the Health Insurance Portability and

Accountability Act (“HIPAA”).


10
     https://www.medstarhealth.org/patient-privacy-policy (last accessed May 10, 2024).
                                                     8
            Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 9 of 48



       37.      Yet, through its failure to properly secure the Private Information of Plaintiff(s) and

Class, MedStar failed to meet its own promises of patient privacy.

       38.      The patient information held by Defendant MedStar in its computer system and

network included the highly sensitive Private Information of Plaintiff(s) and Class Members.

                                          The Data Breach

       39.      A data breach occurs when cyber criminals intend to access and steal Private

Information that has not been adequately secured by a business entity like MedStar.

       40.      According to Defendant’s website Notice, it is unclear of when it learned of a cyber-

attack on its computer systems which occurred over a course of 10 months beginning in January

2023, when it intermittently took many of the healthcare provider’s networked systems offline,

adversely affecting patient treatment, scheduling, and the ability to access patient histories. 11

       41.      Defendant notified HHS of the Data Breach on or about May 3, 2024, listing only

183,079 people affected.

       42.      In January 2023, HHS created a presentation specifically for healthcare providers

and IT departments, warning entities like MedStar of the severe threats posed by Royal, BlackCat

and similar cybercriminal groups. 12 Within the healthcare industry, the risk of a cyber attack is

well-known and preventable with adequate security systems in place.

       43.      On or about May 3, 2024, months after MedStar learned that the Class’s Private

Information was attacked by cybercriminals, MedStar patients began receiving their notices of the

Data Breach informing them that its investigation determined that their Private Information was

accessed.



11
 https://www.medstarhealth.org/notice-of-data-incident (last accessed May 10, 2024).
12
 https://www.hhs.gov/sites/default/files/royal-blackcat-ransomware-tlpclear.pdf (last accessed
May 10, 2024).
                                                  9
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 10 of 48



       44.     MedStar’s notice letters list, time-consuming, generic steps that victims of data

security incidents can take, such as getting a copy of a credit report or notifying law enforcement

about suspicious financial account activity. It failed to provide even one year of credit monitoring

that Plaintiffs and Class Members would have to affirmatively sign up for and a call center number

that victims may contact with questions, MedStar offered no other substantive steps to help victims

like Plaintiff(s) and Class Members to protect themselves. On information and belief, MedStar

sent a similar generic letter to all other individuals affected by the Data Breach.

       45.     MedStar’s data security obligations were particularly important given the

substantial increase in cyberattacks in recent years.

       46.     MedStar knew or should have known that its electronic records would be targeted

by cybercriminals.

       47.     MedStar had obligations created by HIPAA, FTCA, contract, industry standards,

common law, and representations made to Plaintiff(s) and Class Members to keep their Private

Information confidential and to protect it from unauthorized access and disclosure.

       48.     Plaintiff(s) and Class Members provided their Private Information to Defendant

with the reasonable expectation and mutual understanding that Defendant would comply with its

obligations to keep such information confidential and secure from unauthorized access.

                                   The Data Breach was a
                      Foreseeable Risk of which Defendant was on Notice.


       49.     It is well known that PII, including Social Security numbers in particular, is a

valuable commodity and a frequent, intentional target of cyber criminals. Companies that collect

such information, including MedStar, are well-aware of the risk of being targeted by

cybercriminals.



                                                 10
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 11 of 48



       50.     Individuals place a high value not only on their PII, but also on the privacy of that

data. Identity theft causes severe negative consequences to its victims, as well as severe distress

and hours of lost time trying to fight against the impact of identity theft.

       51.     A data breach increases the risk of becoming a victim of identity theft. Victims of

identity theft can suffer from both direct and indirect financial losses. According to a research

study published by the Department of Justice, “[a] direct financial loss is the monetary amount the

offender obtained from misusing the victim’s account or personal information, including the

estimated value of goods, services, or cash obtained. It includes both out-of-pocket loss and any

losses that were reimbursed to the victim. An indirect loss includes any other monetary cost caused

by the identity theft, such as legal fees, bounced checks, and other miscellaneous expenses that are

not reimbursed (e.g., postage, phone calls, or notary fees). All indirect losses are included in the

calculation of out-of-pocket loss.” 13

       52.     Individuals, like Plaintiff(s) and Class members, are particularly concerned with

protecting the privacy of their Social Security numbers, which are the key to stealing any person’s

identity and is likened to accessing your DNA for hacker’s purposes.

       53.     Data Breach victims suffer long-term consequences when their Social Security

numbers are taken and used by hackers. Even if they know their Social Security numbers are being

misused, Plaintiff(s) and Class Members cannot obtain new numbers unless they become a victim

of Social Security number misuse.

       54.     The Social Security Administration has warned that “a new number probably won’t

solve all your problems. This is because other governmental agencies (such as the IRS and state




13
  “Victims of Identity Theft, 2018,” U.S. Department of Justice (April 2021, NCJ 256085)
available at: https://bjs.ojp.gov/content/pub/pdf/vit18.pdf (last accessed May 10, 2024).
                                                  11
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 12 of 48



motor vehicle agencies) and private businesses (such as banks and credit reporting companies) will

have records under your old number. Along with other personal information, credit reporting

companies use the number to identify your credit record. So, using a new number won’t guarantee

you a fresh start. This is especially true if your other personal information, such as your name and

address, remains the same.” 14

       55.     In 2021, there were a record 1,862 data breaches, surpassing both 2020’s total of

1,108 and the previous record of 1,506 set in 2017. 15

       56.     Additionally in 2021, there was a 15.1% increase in cyberattacks and data breaches

since 2020. Over the next two years, in a poll done on security executives, they have predicted an

increase in attacks from “social engineering and ransomware” as nation-states and cybercriminals

grow more sophisticated. Unfortunately, these preventable causes will largely come from

“misconfigurations, human error, poor maintenance, and unknown assets.” 16

       57.     Cyberattacks have become so notorious that the FBI and U.S. Secret Service have

issued a warning to potential targets so they are aware of, and prepared for, and hopefully can ward

off a cyberattack.

       58.     According to an FBI publication, “[r]ansomware is a type of malicious software, or

malware, that prevents you from accessing your computer files, systems, or networks and demands

you pay a ransom for their return. Ransomware attacks can cause costly disruptions to operations

and the loss of critical information and data.” 17 This publication also explains that “[t]he FBI does



14
   https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed May 10, 2024).
15
   https://www.cnet.com/tech/services-and-software/record-number-of-data-breaches-reported-
in-2021-new-report-says/ (last accessed May 10, 2024).
16
   https://www.forbes.com/sites/chuckbrooks/2022/06/03/alarming-cyber-statistics-for-mid-year-
2022-that-you-need-to-know/?sh=176bb6887864 (last accessed May 10, 2024).
17
   https://www.fbi.gov/how-we-can-help-you/safety-resources/scams-and-safety/common-scams-
and-crimes/ransomware (last accessed May 10, 2024).
                                                 12
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 13 of 48



not support paying a ransom in response to a ransomware attack. Paying a ransom doesn’t

guarantee you or your organization will get any data back. It also encourages perpetrators to target

more victims and offers an incentive for others to get involved in this type of illegal activity.” 18

       59.     Despite the prevalence of public announcements of data breach and data security

compromises, and despite its own acknowledgments of data security compromises, and despite its

own acknowledgment of its duties to keep PII private and secure, MedStar failed to take

appropriate steps to protect the PII of Plaintiff(s) and the proposed Class from being compromised.

                           Data Breaches are Rampant in Healthcare.

       60.     Defendant’s data security obligations were particularly important given the

substantial increase in data breaches in the healthcare industry preceding the date of the breach.

       61.     According to an article in the HIPAA Journal posted on October 14, 2022,

cybercriminals hack into medical practices for their “highly prized” medical records. “[T]he

number of data breaches reported by HIPAA-regulated entities continues to increase every year.

2021 saw 714 data breaches of 500 or more records reported to the [HHS’ Office for Civil Rights]

OCR – an 11% increase from the previous year. Almost three-quarters of those breaches were

classified as hacking/IT incidents.” 19

       62.     Healthcare organizations are easy targets because “even relatively small healthcare

providers may store the records of hundreds of thousands of patients. The stored data is highly

detailed, including demographic data, Social Security numbers, financial information, health




18
  Id.
19
  https://www.hipaajournal.com/why-do-criminals-target-medical-records/ (last accessed May
10, 2024).
                                                  13
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 14 of 48



insurance information, and medical and clinical data, and that information can be easily

monetized.” 20

       63.       The HIPAA Journal article goes on to explain that patient records, like those stolen

from MedStar, are “often processed and packaged with other illegally obtained data to create full

record sets (fullz) that contain extensive information on individuals, often in intimate detail.” The

record sets are then sold on dark web sites to other criminals and “allows an identity kit to be

created, which can then be sold for considerable profit to identity thieves or other criminals to

support an extensive range of criminal activities.” 21

       64.       Data breaches such as the one experienced by Defendant MedStar have become so

notorious that the Federal Bureau of Investigation (“FBI”) and U.S. Secret Service have issued a

warning to potential targets so they are aware of, can prepare for, and hopefully can ward off a

potential attack.

       65.       In fact, according to the cybersecurity firm Mimecast, 90% of healthcare

organizations experienced cyberattacks in the past year. 22

       66.       HHS data shows more than 39 million patients' information was exposed in the first

half of 2023 in nearly 300 incidents and that healthcare beaches have doubled between 2020 and

2023, according to records compiled from HHS data by Health IT Security. 23

       67.       According to Advent Health University, when an electronic health record “lands in

the hands of nefarious persons the results can range from fraud to identity theft to extortion. In



20
   Id.
21
   Id.
22
   See Maria Henriquez, Iowa City Hospital Suffers Phishing Attack, Security Magazine (Nov.
23, 2020), https://www.securitymagazine.com/articles/93988-iowa-city-hospital-suffers-
phishing-attack (last accessed May 10, 2024).
23
   https://healthitsecurity.com/features/biggest-healthcare-data-breaches-reported-this-year-so-far
(last accessed May 10, 2024).
                                                  14
          Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 15 of 48



fact, these records provide such valuable information that hackers can sell a single stolen medical

record for up to $1,000.” 24

       68.      The significant increase in attacks in the healthcare industry, and attendant risk of

future attacks, is widely known to the public and to anyone in that industry, including Defendant

MedStar.

                        Defendant Fails to Comply with FTC Guidelines.

       69.      The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision-

making.

       70.     In October 2016, the FTC updated its publication, Protecting Personal

Information: A Guide for Business, which established cyber-security guidelines for businesses.

The guidelines note that businesses should protect the personal patient information that they keep;

properly dispose of personal information that is no longer needed; encrypt information stored on

computer networks; understand their network’s vulnerabilities; and implement policies to correct

any security problems. 25 The guidelines also recommend that businesses use an intrusion detection

system to expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating

someone is attempting to hack the system; watch for large amounts of data being transmitted from

the system; and have a response plan ready in the event of a breach. 26




24
   https://www.ahu.edu/blog/data-security-in-healthcare (last accessed May 10, 2024).
25
   Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016).
Available at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-
personal-information.pdf (last accessed May 10, 2024).
26
   Id.
                                                 15
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 16 of 48



        71.     The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.

        72.     The FTC has brought enforcement actions against businesses, like that of MedStar,

for failing to adequately and reasonably protect patient data, treating the failure to employ

reasonable and appropriate measures to protect against unauthorized access to confidential

consumer data as an unfair act or practice prohibited by Section 5 of the Federal Trade Commission

Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from these actions further clarify the measures

businesses must take to meet their data security obligations.

        73.     These FTC enforcement actions include actions against healthcare providers like

Defendant. See, e.g., In the Matter of LabMD, Inc., A Corp, 2016-2 Trade Cas. (CCH) ¶ 79708,

2016 WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he Commission concludes that LabMD’s

data security practices were unreasonable and constitute an unfair act or practice in violation of

Section 5 of the FTC Act.”).

        74.     Defendant failed to properly implement basic data security practices.

        75.     Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to patients’ PII and PHI constitutes an unfair act or practice prohibited

by Section 5 of the FTC Act, 15 U.S.C. § 45.

        76.     Defendant was at all times fully aware of its obligation to protect the PII and PHI

of its patients and employees. Defendant was also aware of the significant repercussions that would

result from its failure to do so.


                                                 16
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 17 of 48



                      Defendant Fails to Comply with Industry Standards.

       77.     As shown above, experts studying cyber security routinely identify healthcare

providers as being particularly vulnerable to cyberattacks because of the value of the PII and PHI

which they collect and maintain.

       78.     Several best practices have been identified that a minimum should be implemented

by healthcare providers like Defendant, including but not limited to: educating all employees;

utilizing strong passwords; creating multi-layer security, including firewalls, anti-virus, and anti-

malware software; encryption, making data unreadable without a key; using multi-factor

authentication; protecting backup data, and; limiting which employees can access sensitive data.

       79.     Other best cybersecurity practices that are standard in the healthcare industry

include installing appropriate malware detection software; monitoring and limiting the network

ports; protecting web browsers and email management systems; setting up network systems such

as firewalls, switches and routers; monitoring and protection of physical security systems;

protection against any possible communication system; training staff regarding critical points.

       80.     Defendant failed to meet the minimum standards of any of the following

frameworks: the NIST Cybersecurity Framework Version 1.1 (including without limitation

PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1, PR.DS-1, PR.DS-5,

PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2), and the Center for

Internet Security’s Critical Security Controls (CIS CSC), which are all established standards in

reasonable cybersecurity readiness.

       81.     These frameworks are existing and applicable industry standards in the healthcare

industry, yet Defendant failed to comply with these accepted standards, thereby opening the door

to and failing to thwart the Data Breach.


                                                 17
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 18 of 48



                             Defendant’s Conduct Violates HIPAA.

       82.     HIPAA requires covered entities such as Defendant to protect against reasonably

anticipated threats to the security of sensitive patient health information (PHI).

       83.     Covered entities must implement safeguards to ensure the confidentiality, integrity,

and availability of PHI. Safeguards must include physical, technical, and administrative

components.

       84.     Title II of HIPAA contains what are known as the Administrative Simplification

provisions. 42 U.S.C. §§ 1301, et seq. These provisions require, among other things, that the

Department of Health and Human Services (“HHS”) create rules to streamline the standards for

handling PII like the data Defendant left unguarded. The HHS subsequently promulgated multiple

regulations under authority of the Administrative Simplification provisions of HIPAA. These rules

include 45 C.F.R. § 164.306(a)(1-4); 45 C.F.R. § 164.312(a)(1); 45 C.F.R. § 164.308(a)(1)(i); 45

C.F.R. § 164.308(a)(1)(ii)(D), and 45 C.F.R. § 164.530(b).

       85.     A Data Breach such as the one Defendant experienced, is considered a breach under

the HIPAA rules because there is an access of PHI not permitted under the HIPAA Privacy Rule:

               A breach under the HIPAA Rules is defined as, “...the acquisition,
               access, use, or disclosure of PHI in a manner not permitted under
               the [HIPAA Privacy Rule] which compromises the security or
               privacy of the PHI.” See 45 C.F.R. 164.40.

       86.     Defendant’s Data Breach resulted from a combination of insufficiencies that

demonstrate it failed to comply with safeguards mandated by HIPAA regulations.

               Defendant has Breached its Obligations to Plaintiff(s) and Class.

       87.     Defendant breached its obligations to Plaintiff(s) and Class Members and/or was

otherwise negligent and reckless because it failed to properly maintain and safeguard its computer



                                                 18
        Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 19 of 48



systems and its patients’ data. Defendant’s unlawful conduct includes, but is not limited to, the

following acts and/or omissions:

              a. Failing to maintain an adequate data security system to reduce the risk of data

                  breaches and cyber-attacks;

              b. Failing to adequately protect patients’ Private Information;

              c. Failing to properly monitor its own data security systems for existing intrusions;

              d. Failing to ensure that vendors with access to Defendant’s protected health data

                  employed reasonable security procedures;

              e. Failing to ensure the confidentiality and integrity of electronic PHI it created,

                  received, maintained, and/or transmitted, in violation of 45 C.F.R. §

                  164.306(a)(1);

              f. Failing to implement technical policies and procedures for electronic

                  information systems that maintain electronic PHI to allow access only to those

                  persons or software programs that have been granted access rights in violation

                  of 45 C.F.R. § 164.312(a)(1);

              g. Failing to implement policies and procedures to prevent, detect, contain, and

                  correct security violations in violation of 45 C.F.R. § 164.308(a)(1)(i);

              h. Failing to implement procedures to review records of information system

                  activity regularly, such as audit logs, access reports, and security incident

                  tracking reports in violation of 45 C.F.R. § 164.308(a)(1)(ii)(D);

              i. Failing to protect against reasonably anticipated threats or hazards to the

                  security or integrity of electronic PHI in violation of 45 C.F.R. § 164.306(a)(2);




                                                19
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 20 of 48



               j. Failing to protect against reasonably anticipated uses or disclosures of

                   electronic PHI that are not permitted under the privacy rules regarding

                   individually identifiable health information in violation of 45 C.F.R. §

                   164.306(a)(3);

               k. Failing to ensure compliance with HIPAA security standard rules by

                   Defendant’s workforce in violation of 45 C.F.R. § 164.306(a)(4);

               l. Failing to train all members of Defendant’s workforce effectively on the

                   policies and procedures regarding PHI as necessary and appropriate for the

                   members of their workforces to carry out their functions and to maintain

                   security of PHI, in violation of 45 C.F.R. § 164.530(b); and/or

               m. Failing to render the electronic PHI it maintained unusable, unreadable, or

                   indecipherable to unauthorized individuals, as it had not encrypted the

                   electronic PHI as specified in the HIPAA Security Rule by “the use of an

                   algorithmic process to transform data into a form in which there is a low

                   probability of assigning meaning without use of a confidential process or key”

                   (45 CFR 164.304 definition of encryption).

       88.     As the result of maintaining its computer systems in manner that required security

upgrading, inadequate procedures for handling emails containing ransomware or other malignant

computer code, and inadequately trained employees who opened files containing the ransomware

virus, Defendant negligently and unlawfully failed to safeguard Plaintiff(s)’ and Class Members’

Private Information.

       89.     Accordingly, as outlined below, Plaintiff(s) and Class Members now face an

increased risk of fraud and identity theft.


                                                20
           Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 21 of 48



                       Data Breaches Put Consumers at an Increased Risk
                                 Of Fraud and Identify Theft.

          90.    Data Breaches such as the one experienced by Plaintiff(s) and the Class are

especially problematic because of the disruption they cause to the overall daily lives of victims

affected by the attack.

          91.    In 2019, the United States Government Accountability Office released a report

addressing the steps consumers can take after a data breach. 27 Its appendix of steps consumers

should consider, in extremely simplified terms, continues for five pages. In addition to explaining

specific options and how they can help, one column of the chart explains the limitations of the

consumers’ options. See GAO chart of consumer recommendations, reproduced and attached as

Exhibit B. It is clear from the GAO’s recommendations that the steps Data Breach victims (like

Plaintiff(s) and Class) must take after a breach like Defendant’s are both time consuming and of

only limited and short-term effectiveness.

          92.    The GAO has long recognized that victims of identity theft will face “substantial

costs and time to repair the damage to their good name and credit record,” discussing the same in

a 2007 report as well (“2007 GAO Report”). 28

          93.    The FTC, like the GAO (see Exhibit B), recommends that identity theft victims

take several steps to protect their personal and financial information after a data breach, including

contacting one of the credit bureaus to place a fraud alert (consider an extended fraud alert that

lasts for 7 years if someone steals their identity), reviewing their credit reports, contacting




27
     https://www.gao.gov/assets/gao-19-230.pdf (last accessed May 10, 2024).See attached as Ex.
B.
28
   See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited;
However, the Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June 2007,
https://www.gao.gov/new.items/d07737.pdf (last accessed May 10, 2024). (“2007 GAO Report”).
                                                 21
             Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 22 of 48



companies to remove fraudulent charges from their accounts, placing a credit freeze on their credit,

and correcting their credit reports. 29

            94.    Identity thieves use stolen personal information such as Social Security numbers

for a variety of crimes, including credit card fraud, phone or utilities fraud, and bank/finance fraud.

            95.    Identity thieves can also use Social Security numbers to obtain a driver’s license or

official identification card in the victim’s name but with the thief’s picture; use the victim’s name

and Social Security number to obtain government benefits; or file a fraudulent tax return using the

victim’s information.

            96.    Theft of Private Information is also gravely serious. PII/PHI is a valuable property

right. 30

            97.    It must also be noted there may be a substantial time lag – measured in years --

between when harm occurs versus when it is discovered, and also between when Private

Information and/or financial information is stolen and when it is used. According to the U.S.

Government Accountability Office, which has conducted studies regarding data breaches:

            [L]aw enforcement officials told us that in some cases, stolen data may be held for up to a
            year or more before being used to commit identity theft. Further, once stolen data have
            been sold or posted on the Web, fraudulent use of that information may continue for years.
            As a result, studies that attempt to measure the harm resulting from data breaches cannot
            necessarily rule out all future harm.

See 2007 GAO Report, at p. 29.




29
   See https://www.identitytheft.gov/Steps (last accessed May 10, 2024).
30
   See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable
Information (“PII”) Equals the “Value” of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4
(2009) (“PII, which companies obtain at little cost, has quantifiable value that is rapidly reaching
a level comparable to the value of traditional financial assets.”) (citations omitted).
                                                    22
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 23 of 48



       98.     Private Information and financial information are such valuable commodities to

identity thieves that once the information has been compromised, criminals often trade the

information on the “cyber black-market” for years.

       99.     There is a strong probability that the entirety of the stolen information has been

dumped on the black market or will be dumped on the black market, meaning Plaintiff(s) and Class

Members are at an increased risk of fraud and identity theft for many years into the future. Thus,

Plaintiff(s) and Class Members must vigilantly monitor their financial and medical accounts for

many years to come.

       100.    As the HHS warns, “PHI can be exceptionally valuable when stolen and sold on a

black market, as it often is. PHI, once acquired by an unauthorized individual, can be exploited via

extortion, fraud, identity theft and data laundering. At least one study has identified the value of a

PHI record at $1000 each.” 31

       101.    Furthermore, the Social Security Administration has warned that identity thieves

can use an individual’s Social Security number to apply for additional credit lines.32 Such fraud

may go undetected until debt collection calls commence months, or even years, later. Stolen Social

Security numbers also make it possible for thieves to file fraudulent tax returns, file for

unemployment benefits, or apply for a job using a false identity. 33 Each of these fraudulent

activities is difficult to detect. An individual may not know that his or her Social Security Number

was used to file for unemployment benefits until law enforcement notifies the individual’s




31
   https://www.hhs.gov/sites/default/files/cost-analysis-of-healthcare-sector-data-breaches.pdf at
2 (citations omitted) (last accessed May 10, 2024).
32
   Identity Theft and Your Social Security Number, Social Security Administration (last accessed
March 16, 2023). (2018) at 1. Available at https://www.ssa.gov/pubs/EN-05-10064.pdf (last
accessed March 16, 2023).
33
   Id. at 4.
                                                 23
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 24 of 48



employer of the suspected fraud. Fraudulent tax returns are typically discovered only when an

individual’s authentic tax return is rejected.

        102.    Moreover, it is not an easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. Even then, a new Social Security number may not be effective, as “[t]he

credit bureaus and banks are able to link the new number very quickly to the old number, so all of

that old bad information is quickly inherited into the new Social Security number.” 34

        103.    This data, as one would expect, demands a much higher price on the black market.

Martin Walter, senior director at cybersecurity firm RedSeal, explained, “[c]ompared to credit card

information, personally identifiable information and Social Security numbers are worth more than

10x on the black market.” 35

        104.    In recent years, the medical and financial services industries have experienced

disproportionally higher numbers of data theft events than other industries. Defendant therefore

knew or should have known this and strengthened its data systems accordingly. Defendant was put

on notice of the substantial and foreseeable risk of harm from a data breach, yet it failed to properly

prepare for that risk.

                                PLAINTIFF(S)’ EXPERIENCES

        Plaintiff Tracy Sanders




34
   Brian Naylor, Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR
(Feb. 9, 2015), http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millions-worrying-about-identity-theft (last accessed May 10, 2024).
35
   Tim Greene, Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card
Numbers, Computer World (Feb. 6, 2015), http://www.itworld.com/article/2880960/anthem-hack-
personal-data-stolen-sells-for-10x-price-of-stolen-credit-card-numbers.html (last accessed May
10, 2024).
                                                  24
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 25 of 48



        105.   Plaintiff Tracy Sanders is and at all times mentioned herein was an individual

citizen residing in the State of Maryland.

        106.   Plaintiff Sanders is and was a patient of MedStar at all times relevant to this

Complaint. Plaintiff Sanders received a Notice of Data Breach Letter, related to MedStar’s Data

Breach dated May 3, 2024. See Exhibit A.

        107.   The Notice Letter that Plaintiff received does not explain exactly which parts of her

PII and PHI were accessed and taken but instead generically states that the files contained her

“name, mailing address, date of birth, date(s) of service, provider name(s), and/or health insurance

information.” See Ex. A.

        108.   Plaintiff Sanders is especially alarmed by the vagueness of her stolen extremely

private medical information (PHI) and equally by the fact that her Social Security number was

identified as among the breached data on MedStar’s computer system.

        109.   Since the Data Breach, Plaintiff Sanders monitors her financial accounts for about

an hour per week. This is more time than she spent prior to learning of the MedStar’s Data Breach.

Having to do this every week not only wastes her time as a result of MedStar’s negligence, but it

also causes her great anxiety.

        110.   Starting since the Data Breach, Plaintiff Sanders began receiving an excessive

number of spam calls on the same cell phone number provided to MedStar on her records. These

calls are a distraction, must be deleted, and waste time each day. Once the Notice Letter was

delivered, and given the timing of the Data Breach, she believes that the calls are related to her

stolen PII.




                                                25
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 26 of 48



       111.    In addition, Plaintiff Sanders receives many spam emails and texts now, which was

not typical before the Data Breach. She cannot figure out any other explanation than that it is

related to MedStar’s Data Breach which included her Private Information.

       112.    On approximately April 16, 2024, Plaintiff Sanders experienced an unauthorized

charge to her Truist Bank account in the amount of $150.00. Plaintiff Sanders was unable to be

reimbursed for this despite disputing it. Due to this fraud, Plaintiff had issues paying other bills,

had to make trips to the bank to address the issue, and replaced her bank cards.

       113.    Plaintiff Sanders is careful with her Private Information and has not experienced

fraud before this breach. She believes the unauthorized charges are related to the Data Breach, as

there is no other logical explanation given the timeline.

       114.    Plaintiff Sanders is aware that cybercriminals often sell Private Information, and

one stolen, it is likely to be abused months or even years after MedStar’s Data Breach.

       115.    Had Plaintiff Sanders been aware that MedStar’s computer systems were not

secure, she would not have entrusted MedStar with her PII and PHI.

                    PLAINTIFF(S)’ AND CLASS MEMBERS’ INJURIES

       172.    To date, Defendant MedStar has done absolutely nothing to compensate Plaintiff(s)

and Class Members for the damages they sustained in the Data Breach.

       173.    Defendant MedStar has not even merely offered one year of credit monitoring

services. This is a failure to protect the Private Information it allowed to be inadequately

safeguarded which has caused Plaintiff(s) and Class great injuries. See Ex. A. The lack of services

is inadequate when victims are likely to face many years of identity theft.

       174.    MedStar’s offer fails to sufficiently compensate victims of the Data Breach,

who commonly face multiple years of ongoing identity theft, and it entirely fails to provide


                                                 26
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 27 of 48



any compensation for its unauthorized release and disclosure of Plaintiff(s)’ and Class

Members’ Private Information, out of pocket costs, and the time they are required to spend

attempting to mitigate their injuries.

        175.      Furthermore, Defendant MedStar’s credit monitoring offer and advice (see Ex. A)

to Plaintiff(s) and Class Members squarely places the burden on Plaintiff(s) and Class Members,

rather than on the Defendant, to investigate and protect themselves from Defendant’s tortious acts

resulting in the Data Breach. Defendant merely sent instructions to Plaintiff(s) and Class Members

about actions they can affirmatively take to protect themselves.

        176.      Plaintiff(s) and Class Members have been damaged by the compromise and

exfiltration of their Private Information in the Data Breach, and by the severe disruption to their

lives as a direct and foreseeable consequence of this Data Breach.

        177.      Plaintiff(s)’and Class Members’ Private Information was compromised and

exfiltrated by cyber-criminals as a direct and proximate result of the Data Breach.

        178.      Plaintiff(s) and Class were damaged in that their Private Information is now in the

hands of cyber criminals, sold and potentially for sale for years into the future.

        179.      As a direct and proximate result of Defendant’s conduct, Plaintiff(s) and Class

Members have been placed at an actual, imminent, and substantial risk of harm from fraud and

identity theft.

        180.      As a direct and proximate result of Defendant’s conduct, Plaintiff(s) and Class

Members have been forced to expend time dealing with the effects of the Data Breach.

        181.      Plaintiff(s) and Class Members face substantial risk of out-of-pocket fraud losses

such as loans opened in their names, medical services billed in their names, tax return fraud, utility

bills opened in their names, credit card fraud, and similar identity theft. Plaintiff(s) and Class


                                                  27
          Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 28 of 48



Members may also incur out-of-pocket costs for protective measures such as credit monitoring

fees, credit report fees, credit freeze fees, and similar costs directly or indirectly related to the Data

Breach.

        182.    Plaintiff(s) and Class Members face substantial risk of being targeted for future

phishing, data intrusion, and other illegal schemes based on their Private Information as potential

fraudsters could use that information to more effectively target such schemes to Plaintiff(s) and

Class Members.

        183.    Plaintiff(s) and Class Members also suffered a loss of value of their Private

Information when it was acquired by cyber thieves in the Data Breach. Numerous courts have

recognized the propriety of loss of value damages in related cases.

        184.    Plaintiff(s) and Class Members have spent and will continue to spend significant

amounts of time to monitor their financial accounts and records for misuse.

        185.    Plaintiff(s) and Class Members have suffered or will suffer actual injury as a direct

result of the Data Breach. Many victims suffered ascertainable losses in the form of out-of-pocket

expenses and the value of their time reasonably incurred to remedy or mitigate the effects of the

Data Breach relating to:

                a. Finding fraudulent charges;

                b. Canceling and reissuing credit and debit cards;

                c. Purchasing credit monitoring and identity theft prevention;

                d. Monitoring their medical records for fraudulent charges and data;

                e. Addressing their inability to withdraw funds linked to compromised accounts;

                f. Taking trips to banks and waiting in line to obtain funds held in limited

                    accounts;


                                                   28
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 29 of 48



               g. Placing “freezes” and “alerts” with credit reporting agencies;

               h. Spending time on the phone with or at a financial institution to dispute

                  fraudulent charges;

               i. Contacting financial institutions and closing or modifying financial accounts;

               j. Resetting automatic billing and payment instructions from compromised credit

                  and debit cards to new ones;

               k. Paying late fees and declined payment fees imposed as a result of failed

                  automatic payments that were tied to compromised cards that had to be

                  cancelled; and

               l. Closely reviewing and monitoring bank accounts and credit reports for

                  unauthorized activity for years to come.

       186.    Moreover, Plaintiff(s) and Class Members have an interest in ensuring that their

Private Information, which is believed to remain in the possession of Defendant, is protected from

further breaches by the implementation of security measures and safeguards, including but not

limited to, making sure that the storage of data or documents containing personal and financial

information as well as health information is not accessible online and that access to such data is

password-protected.

       187.    Further, as a result of Defendant’s conduct, Plaintiff(s) and Class Members are

forced to live with the anxiety that their Private Information —which contains the most intimate

details about a person’s life—may be disclosed to the entire world, thereby subjecting them to

embarrassment and depriving them of any right to privacy whatsoever.

       188.    Defendant’s delay in identifying and reporting the Data Breach caused additional

harm. In a data breach, time is of the essence to reduce the imminent misuse of PII and PHI. Early


                                                 29
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 30 of 48



notification helps a victim of a Data Breach mitigate their injuries, and in the converse, delayed

notification causes more harm and increases the risk of identity theft. Here, MedStar knew of the

breach since October 2023 and did not notify the victims until May, 3, 2024 Yet MedStar offered

no explanation of purpose for the delay. This delay violates HIPAA and other notification

requirements and increases the injuries to Plaintiff(s) and Class.

                               CLASS ACTION ALLEGATIONS

       189.    Plaintiff(s) bring this action on behalf of themselves and on behalf of all other

persons similarly situated.

       190.    Plaintiff(s) propose the following Class definition, subject to amendment as

appropriate:

       All persons whose Private Information was compromised as a result of the Data
       Breach discovered by MedStar Health, Inc in 2023 and to whom it provided notice
       on or about May 2024 (the “Class”).

       191.    Excluded from the Class are Defendant’s officers and directors, and any entity in

which Defendant has a controlling interest; and the affiliates, legal representatives, attorneys,

successors, heirs, and assigns of Defendant. Excluded also from the Class are Members of the

judiciary to whom this case is assigned, their families and Members of their staff.

       192.    Plaintiff(s) hereby reserve the right to amend or modify the class definitions with

greater specificity or division after having had an opportunity to conduct discovery. The proposed

Class meets the criteria for certification Fed. R. Civ. P. Rule 23.

       193.    Numerosity, Fed. R. Civ. P. 23(a)(1): The Members of the Class are so numerous

that joinder of all of them is impracticable. The exact number of Class Members is believed to be

around 183,079.




                                                 30
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 31 of 48



       194.    Commonality. As required by Fed. R. Civ. P. 23(a)(2) and (b)(3), there are

questions of law and fact common to the Class, which predominate over any questions affecting

only individual Class Members. These common questions of law and fact include, without

limitation:

          a.     Whether Defendant unlawfully used, maintained, lost, or disclosed Plaintiff(s)’

                 and Class Members’ Private Information;

          b.     Whether Defendant failed to implement and maintain reasonable security

                 procedures and practices appropriate to the nature and scope of the information

                 compromised in the Data Breach;

          c.     Whether Defendant’s data security systems prior to and during the Data Breach

                 complied with applicable data security laws and regulations;

          d.     Whether Defendant’s data security systems prior to and during the Data Breach

                 were consistent with industry standards;

          e.     Whether Defendant owed a duty to Class Members to safeguard their Private

                 Information;

          f.     Whether Defendant breached its duty to Class Members to safeguard their

                 Private Information;

          g.     Whether computer hackers obtained Class Members’ Private Information in the

                 Data Breach;

          h.     Whether Defendant knew or should have known that its data security systems

                 and monitoring processes were deficient;

          i.     Whether Plaintiff(s) and Class Members suffered legally cognizable damages as

                 a result of Defendant’s misconduct;


                                              31
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 32 of 48



          j.      Whether Defendant failed to provide notice of the Data Breach in a timely

                  manner; and

          k.      Whether Plaintiff(s) and Class Members are entitled to damages, civil penalties,

                  punitive damages, and/or injunctive relief.

        195.    Typicality, Fed. R. Civ. P. 23(a)(3): Plaintiff(s)’ claims are typical of those of other

Class Members because Plaintiff’s Private Information, like that of every other Class member, was

compromised in the Data Breach.

        196.     Adequacy of Representation, Fed. R. Civ. P. 23(a)(4): Plaintiff(s) will fairly and

adequately represent and protect the interests of the Members of the Class. Plaintiff(s)’ Counsel

is competent and experienced in litigating class actions, including data privacy litigation of this

kind.

        197.   Predominance. Defendant has engaged in a common course of conduct toward

Plaintiff(s) and Class Members, in that all the Plaintiff(s)’ and Class Members’ data was stored on

the same computer systems and unlawfully accessed in the same way. The common issues arising

from Defendant’s conduct affecting Class Members set out above predominate over any

individualized issues. Adjudication of these common issues in a single action has important and

desirable advantages of judicial economy.

        198.   Superiority, Fed. R. Civ. P. 23(b)(3): A class action is superior to other available

methods for the fair and efficient adjudication of the controversy. Class treatment of common

questions of law and fact is superior to multiple individual actions or piecemeal litigation. Absent

a class action, most Class Members would likely find that the cost of litigating their individual

claims is prohibitively high and would therefore have no effective remedy. The prosecution of

separate actions by individual Class Members would create a risk of inconsistent or varying


                                                  32
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 33 of 48



adjudications with respect to individual Class Members, which would establish incompatible

standards of conduct for Defendant. In contrast, the conduct of this action as a class action presents

far fewer management difficulties, conserves judicial resources and the parties’ resources, and

protects the rights of each Class member.

       199.    Defendant has acted on grounds that apply generally to the Class as a whole, so that

class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

Class-wide basis.

       200.    Likewise, particular issues are appropriate for certification under Rule 23(c)(4)

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

          a.        Whether Defendant failed to timely notify the public of the Data Breach;

          b.        Whether Defendant owed a legal duty to Plaintiff(s) and the Class to exercise

                    due care in collecting, storing, and safeguarding their Private Information;

          c.        Whether Defendant’s security measures to protect their data systems were

                    reasonable in light of best practices recommended by data security experts;

          d.        Whether Defendant’s failure to institute adequate protective security measures

                    amounted to negligence;

          e.        Whether Defendant failed to take commercially reasonable steps to safeguard

                    consumer Private Information; and

          f.        Whether adherence to FTC data security recommendations, and measures

                    recommended by data security experts would have reasonably prevented the

                    Data Breach;


                                                  33
           Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 34 of 48



            g.     Whether Defendant failed to abide by its responsibilities under HIPAA.

          201.   Finally, all members of the proposed Class are readily ascertainable. Defendant has

access to Class Members’ names and addresses affected by the Data Breach. Class Members have

already been preliminarily identified and sent notice of the Data Breach by Defendant.


                                      CAUSES OF ACTION

                                           First Count
                                           Negligence
                          (On Behalf of Plaintiff(s) and Class Members)

          202.   Plaintiff(s) re-alleges and incorporates the above allegations as if fully set forth

herein.

          203.   Defendant MedStar required Plaintiff(s) and Class Members to submit non-public

personal information in order to obtain healthcare/medical services and/or employment.

          204.   By collecting and storing this data in MedStar’s computer property, and sharing it

and using it for commercial gain, Defendant had a duty of care to use reasonable means to secure

and safeguard their computer property—and Class Members’ Private Information held within it—

to prevent disclosure of the information, and to safeguard the information from theft. Defendant’s

duty included a responsibility to implement processes by which it could detect a breach of their

security systems in a reasonably expeditious period of time and to give prompt notice to those

affected in the case of a Data Breach.

          205.   Defendant owed a duty of care to Plaintiff(s) and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks, and the personnel responsible for them, adequately protected the

Private Information.




                                                  34
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 35 of 48



       206.    Defendant’s duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendant MedStar and its patients, which is

recognized by laws and regulations including but not limited to HIPAA, as well as common law.

Defendant was in a position to ensure that its systems were sufficient to protect against the

foreseeable risk of harm to Class Members from a Data Breach.

       207.    Defendant’s duty to use reasonable security measures under HIPAA required

Defendant to “reasonably protect” confidential data from “any intentional or unintentional use or

disclosure” and to “have in place appropriate administrative, technical, and physical safeguards to

protect the privacy of protected health information.” 45 C.F.R. § 164.530(c)(1). Some or all of the

healthcare, medical, and/or medical information at issue in this case constitutes “protected health

information” within the meaning of HIPAA.

       208.    In addition, Defendant had a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the unfair

practice of failing to use reasonable measures to protect confidential data.

       209.    Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendant is

bound by industry standards to protect confidential Private Information.

       210.    Defendant breached its duties, and thus were negligent, by failing to use reasonable

measures to protect Class Members’ Private Information. The specific negligent acts and

omissions committed by Defendant include, but are not limited to, the following:

          a.      Failing to adopt, implement, and maintain adequate security measures to

                  safeguard Class Members’ Private Information;


                                                 35
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 36 of 48



          b.      Failing to adequately monitor the security of their networks and systems;

          c.      Failure to periodically ensure that their email system had plans in place to

                  maintain reasonable data security safeguards;

          d.      Allowing unauthorized access to Class Members’ Private Information;

          e.      Failing to detect in a timely manner that Class Members’ Private Information

                  had been compromised; and

          f.      Failing to timely notify Class Members about the Data Breach so that they could

                  take appropriate steps to mitigate the potential for identity theft and other

                  damages.

       211.    It was foreseeable that Defendant’s failure to use reasonable measures to protect

Class Members’ Private Information would result in injury to Class Members. Further, the breach

of security was reasonably foreseeable given the known high frequency of cyberattacks and data

breaches in the healthcare industry.

       212.    It was therefore foreseeable that the failure to adequately safeguard Class Members’

Private Information would result in one or more types of injuries to Class Members.

       213.    Plaintiff(s) and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       214.    Defendant’s negligent conduct is ongoing, in that it still holds the Private

Information of Plaintiff(s) and Class Members in an unsafe and unsecure manner.

       215.     Plaintiff(s) and Class Members are also entitled to injunctive relief requiring

Defendant to (i) strengthen its data security systems and monitoring procedures; (ii) submit to

future annual audits of those systems and monitoring procedures; and (iii) continue to provide

adequate credit monitoring to all Class Members.


                                                36
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 37 of 48




                                        Second Count
                                      Negligence Per Se
                      (On Behalf of Plaintiff(s) and All Class Members)

       216.    Plaintiff(s) re-allege the above allegations as if fully set forth herein.

       217.    Pursuant to the Federal Trade Commission Act, 15 U.S.C. § 45, Defendant had a

duty to provide fair and adequate computer systems and data security practices to safeguard

Plaintiff(s)’ and Class Members’ Private Information.

       218.    Pursuant to HIPAA, 42 U.S.C. § 1302d, et seq., Defendant had a duty to implement

reasonable safeguards to protect Plaintiff(s)’ and Class Members’ Private Information.

       219.    Pursuant to HIPAA, Defendant had a duty to render the electronic PHI they

maintained unusable, unreadable, or indecipherable to unauthorized individuals, as specified in the

HIPAA Security Rule by “the use of an algorithmic process to transform data into a form in which

there is a low probability of assigning meaning without use of a confidential process or key.” See

definition of encryption at 45 C.F.R. § 164.304.

       220.    Defendant breached its duties to Plaintiff(s) and Class Members under the Federal

Trade Commission Act and HIPAA by failing to provide fair, reasonable, or adequate computer

systems and data security practices to safeguard Plaintiff(s)’ and Class Members’ Private

Information.

       221.    Defendant’s failure to comply with applicable laws and regulations constitutes

negligence per se.

       222.    But for Defendant’s wrongful and negligent breach of their duties owed to

Plaintiff(s) and Class Members, Plaintiff(s) and Class Members would not have been injured.

       223.    The injury and harm suffered by Plaintiff(s) and Class Members was the reasonably

foreseeable result of Defendant’s breach of their duties. Defendant knew or should have known

                                                  37
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 38 of 48



that it failed to meet its duties, and that Defendant’s breach would cause Plaintiff(s) and Class

Members to experience the foreseeable harms associated with the exposure of their Private

Information.

       224.    As a direct and proximate result of Defendant’s negligent conduct, Plaintiff(s) and

Class Members have suffered injury and are entitled to compensatory, consequential, and punitive

damages in an amount to be proven at trial.

                                        Third Count
                                Breach of Implied Contract
                        (On Behalf of Plaintiff(s) and Class Members)

       225.    Plaintiff(s) re-allege the above allegations as if fully set forth herein.

       226.    Plaintiff(s) and Class Members provided their Private Information to Defendant

MedStar in exchange for Defendant’s medical services, they entered into implied contracts with

Defendant pursuant to which Defendant agreed to reasonably protect such information.

       227.    Defendant solicited, offered, and invited Class Members to provide their Private

Information as part of Defendant’s regular business practices. Plaintiff(s) and Class Members

accepted Defendant’s offers and provided their Private Information to Defendant.

       228.    In entering into such implied contracts, Plaintiff(s) and Class Members reasonably

believed and expected that Defendant’s data security practices complied with relevant laws and

regulations, including HIPAA, and were consistent with industry standards.

       229.    Plaintiff(s) and Class Members paid money to Defendant with the reasonable belief

and expectation that Defendant would use part of its earnings to obtain adequate data security.

Defendant failed to do so.




                                                  38
           Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 39 of 48



       230.    Plaintiff(s) and Class Members would not have entrusted their Private Information

to Defendant in the absence of the implied contract between them and Defendant to keep their

information reasonably secure.

       231.    Plaintiff(s) and Class Members would not have entrusted their Private Information

to Defendant in the absence of its implied promise to monitor their computer systems and networks

to ensure that it adopted reasonable data security measures.

       232.    Plaintiff(s) and Class Members fully and adequately performed their obligations

under the implied contracts with Defendant.

       233.    Defendant breached its implied contracts with Class Members by failing to

safeguard and protect their Private Information.

       234.    As a direct and proximate result of Defendant’s breach of the implied contracts,

Class Members sustained damages as alleged herein, including the loss of the benefit of the

bargain.

       235.    Plaintiff(s) and Class Members are entitled to compensatory, consequential, and

nominal damages suffered as a result of the Data Breach.

       236.    Plaintiff(s) and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate long-term credit monitoring to all Class Members.

                                        Fourth Count
                                 Breach of Fiduciary Duty
                        (On Behalf of Plaintiff(s) and Class Members)

       237.    Plaintiff(s) re-allege the above allegations as if fully set forth herein.




                                                  39
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 40 of 48



       238.    In light of the special relationship between Defendant MedStar and Plaintiff(s) and

Class Members, whereby Defendant became guardian of Plaintiff(s)’ and Class Members’ Private

Information, Defendant became a fiduciary by its undertaking and guardianship of the Private

Information, to act primarily for Plaintiff(s) and Class Members, (1) for the safeguarding of

Plaintiff(s)’ and Class Members’ Private Information; (2) to timely notify Plaintiff(s) and Class

Members of a Data Breach and disclosure; and (3) to maintain complete and accurate records of

what information (and where) Defendant did and does store.

       239.    Defendant has a fiduciary duty to act for the benefit of Plaintiff(s) and Class

Members upon matters within the scope of its relationship with its current and former patients and

employees to keep secure their Private Information.

       240.    Defendant breached its fiduciary duties to Plaintiff(s) and Class Members by failing

to diligently discover, investigate, and give detailed notice of the Data Breach to Plaintiff(s) and

Class in a reasonable and practicable period of time.

       241.    Defendant breached its fiduciary duties to Plaintiff(s) and Class Members by failing

to encrypt and otherwise protect the integrity of the systems containing Plaintiff(s)’ and Class

Members’ Private Information.

       242.    Defendant breached its fiduciary duties owed to Plaintiff(s) and Class Members by

failing to timely notify and/or warn Plaintiff(s) and Class Members of the Data Breach.

       243.    Defendant breached its fiduciary duties to Plaintiff(s) and Class Members by

otherwise failing to safeguard Plaintiff(s)’ and Class Members’ Private Information.

       244.    As a direct and proximate result of Defendant’s breaches of its fiduciary duties,

Plaintiff(s) and Class Members have suffered and will suffer injury, including but not limited to:

(i) actual identity theft; (ii) the compromise, publication, and/or theft of their Private Information;


                                                  40
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 41 of 48



(iii) out-of-pocket expenses associated with the prevention, detection, and recovery from identity

theft and/or unauthorized use of their Private Information; (iv) lost opportunity costs associated

with effort expended and the loss of productivity addressing and attempting to mitigate the actual

and future consequences of the Data Breach, including but not limited to efforts spent researching

how to prevent, detect, contest, and recover from identity theft; (v) the continued risk to their

Private Information, which remains in Defendant’s possession and is subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the Private Information in their continued possession; (vi) future costs in terms

of time, effort, and money that will be expended as result of the Data Breach for the remainder of

the lives of Plaintiff(s) and Class Members; and (vii) the diminished value of Defendant’s services

they received.

       245.      As a direct and proximate result of Defendant’s breach of its fiduciary duties,

Plaintiff(s) and Class Members have suffered and will continue to suffer other forms of injury

and/or harm, and other economic and non-economic losses.


                                           Fifth Count
                                       Unjust Enrichment
                          (On Behalf of Plaintiff(s) and Class Members)

       246.      Plaintiff(s) re-allege the above allegations as if fully set forth herein. Plaintiff(s)

bring this claim individually and on behalf of all Class Members. This count is plead in the

alternative to the breach of contract count above.

       247.      Upon information and belief, Defendant funds its data security measures entirely

from its general revenue, including payments made by or on behalf of Plaintiff(s) and the Class

Members.




                                                   41
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 42 of 48



       248.    As such, a portion of the payments made by or on behalf of Plaintiff(s) and the

Class Members is to be used to provide a reasonable level of data security, and the amount of the

portion of each payment made that is allocated to data security is known to Defendant.

       249.    Plaintiff(s) and Class Members conferred a monetary benefit on Defendant.

Specifically, they purchased goods and services from Defendant and/or its agents and in so doing

provided Defendant with their Private Information. In exchange, Plaintiff(s) and Class Members

should have received from Defendant the goods and services that were the subject of the

transaction and have their Private Information protected with adequate data security.

       250.    Defendant knew that Plaintiff(s) and Class Members conferred a benefit which

Defendant accepted. Defendant profited from these transactions and used the Private Information

of Plaintiff(s) and Class Members for business purposes.

       251.    In particular, Defendant enriched itself by saving the costs it reasonably should

have expended on data security measures to secure Plaintiff’s and Class Members’ Personal

Information. Instead of providing a reasonable level of security that would have prevented the

hacking incident, Defendant instead calculated to increase its own profits at the expense of

Plaintiff(s) and Class Members by utilizing cheaper, ineffective security measures. Plaintiff(s) and

Class Members, on the other hand, suffered as a direct and proximate result of Defendant’s

decision to prioritize its own profits over the requisite security.

       252.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money belonging to Plaintiff(s) and Class Members, because Defendant

failed to implement appropriate data management and security measures that are mandated by

industry standards.




                                                  42
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 43 of 48



       253.    Defendant failed to secure Plaintiff(s)’ and Class Members’ Private Information

and, therefore, did not provide full compensation for the benefit Plaintiff(s) and Class Members

provided.

       254.    Defendant acquired the Private Information through inequitable means in that it

failed to disclose the inadequate security practices previously alleged.

       255.    If Plaintiff(s) and Class Members knew that Defendant had not reasonably secured

their Private Information, they would not have agreed to provide their Private Information to

Defendant.

       256.    Plaintiff(s) and Class Members have no adequate remedy at law.

       257.    As a direct and proximate result of Defendant’s conduct, Plaintiff(s) and Class

Members have suffered and will suffer injury, including but not limited to: (a) actual identity theft;

(b) the loss of the opportunity of how their Private Information is used; (c) the compromise,

publication, and/or theft of their Private Information; (d) out-of-pocket expenses associated with

the prevention, detection, and recovery from identity theft, and/or unauthorized use of their Private

Information; (e) lost opportunity costs associated with efforts expended and the loss of productivity

addressing and attempting to mitigate the actual and future consequences of the Data Breach,

including but not limited to efforts spent researching how to prevent, detect, contest, and recover

from identity theft; (f) the continued risk to their Private Information, which remains in

Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect Private Information in their

continued possession; and (g) future costs in terms of time, effort, and money that will be expended

to prevent, detect, contest, and repair the impact of the Private Information compromised as a result

of the Data Breach for the remainder of the lives of Plaintiff(s) and Class Members.


                                                 43
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 44 of 48



        258.    As a direct and proximate result of Defendant’s conduct, Plaintiff(s) and Class

Members have suffered and will continue to suffer other forms of injury and/or harm.

        259.    Defendant should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiff(s) and Class Members, proceeds that they unjustly received from

them. In the alternative, Defendant should be compelled to refund the amounts that Plaintiff(s) and

Class Members overpaid for Defendant’s services.

                                          Sixth Count
                                    Declaratory Judgment
                         (On Behalf of Plaintiff(s) and Class Members)

        260.    Plaintiff(s) re-allege and incorporate by reference the paragraphs above as if fully

set forth herein.

        261.    Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and violate the terms of the federal and state statutes described in this Complaint.

        262.    An actual controversy has arisen in the wake of the Defendant’s Data Breach

regarding its present and prospective common law and other duties to reasonably safeguard its

customers’ Personal Information and whether Defendant is currently maintaining data security

measures adequate to protect Plaintiff(s) and Class members from further data breaches that

compromise their Private Information.

        263.    Plaintiff(s) allege that Defendant’s data security measures remain inadequate.

Plaintiff(s) will continue to suffer injury because of the compromise of their Private Information

and remain at imminent risk that further compromises of their Private Information will occur in

the future.


                                                 44
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 45 of 48



       264.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

enter a judgment declaring, among other things, the following:

          a.      Defendant continues to owe a legal duty to secure patients’ Private Information

                  and to timely notify patients of a data breach under the common law, HIPAA,

                  Section 5 of the FTC Act, and various states’ statutes; and

          b.      Defendant continues to breach this legal duty by failing to employ reasonable

                  measures to secure patients’ Private Information.

       265.    The Court also should issue corresponding prospective injunctive relief requiring

Defendant to employ adequate security protocols consistent with law and industry standards to

protect patients’ Private Information.

       266.    If an injunction is not issued, Plaintiff(s) and Class members will suffer irreparable

injury, and lack an adequate legal remedy, in the event of another data breach at Defendant. The

risk of another such breach is real, immediate, and substantial. If another breach at Defendant

occurs, Plaintiff(s) and Class members will not have an adequate remedy at law because many of

the resulting injuries are not readily quantified, and they will be forced to bring multiple lawsuits

to rectify the same conduct.

       267.    The hardship to Plaintiff(s) and Class members if an injunction does not issue

exceeds the hardship to Defendant if an injunction is issued. Among other things, if another

massive data breach occurs at Defendant, Plaintiff(s) and Class members will likely be subjected

to fraud, identify theft, and other harms described herein. On the other hand, the cost to Defendant

of complying with an injunction by employing reasonable prospective data security measures is

relatively minimal, and Defendant has pre-existing legal obligations to employ such measures.




                                                 45
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 46 of 48



        268.    Issuance of the requested injunction will not do a disservice to the public interest.

To the contrary, such an injunction would benefit the public by preventing another data breach at

Defendant, thus eliminating the additional injuries that would result to Plaintiff(s) and the millions

of individuals whose Private Information would be further compromised.

                                           Seventh Count
            VIOLATIONS OF THE MARYLAND CONSUMER PROTECTION ACT
                                             (“MCPA”)
                             Md. Code Ann., Com. Law § 13-101, et seq.
        269. Plaintiff(s) reallege and incorporates by reference all preceding paragraphs as if

fully set forth herein.

        270.    The purpose of the Maryland Consumer Protection Act is “to set certain minimum

statewide standards for the protection of consumers across the State [of] [Maryland].” Md. Code

Ann., Com. Law § 13-102(b)(1).

        271.    MedStar, Plaintiff(s), and Class members are all “persons” as defined in the MCPA.

Md. Code Ann., Com. Law § 13-101(h). Plaintiff and Class members are all “consumers” as

defined in the MCPA. Md. Code Ann., Com. Law § 13-101(c).

        272.    The MCPA prohibits a person from engaging in “any unfair, abusive, or deceptive

trade practice” in the sale of goods or services. Md. Code Ann., Com. Law § 13-303.

        273.    MedStar has violated the Maryland Consumer Protection Act by engaging in the

unfair and deceptive practices alleged herein. Pursuant to HIPAA (42 U.S.C. § 1302d et seq.), the

FTCA, and Maryland law, MedStar was required, but failed, to protect Plaintiff’s and Class

members’ PII/PHI and maintain adequate and reasonable data and cybersecurity measures to

maintain the security and privacy of Plaintiff’s and Class members’ PII/PHI. This constitutes a

violation of the Maryland Consumer Protection Act.




                                                 46
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 47 of 48



       274.     Further, MedStar has violated the MPIPA, which requires “a business that owns,

maintains, or licenses personal information of an individual residing in the State shall implement

and maintain reasonable security procedures and practices that are appropriate to the nature of the

personal information owned, maintained, or licensed and the nature and size of the business and

its operations.” Md. Code Ann., Com. Law § 14-3503(a).

       275.     A violation of the MPIPA is “an unfair or deceptive trade practice within the

meaning of” the MCPA. Md. Code Ann., Com. Law § 14-3508(1).

       276.     Plaintiff(s) and Class members seek declaratory judgment that MedStar’s data

security practices were not reasonable or adequate and caused the cyberattack under the MCPA,

as well as injunctive relief enjoining the wrongful acts and practices of MedStar described herein

and requiring MedStar to employ and maintain industry accepted standards for data management

and security.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff(s) pray for judgment as follows:

           a) For an Order certifying this action as a class action and appointing Plaintiff(s) and

                their counsel to represent the Class;

           b) For equitable relief enjoining Defendant from engaging in the wrongful conduct

                complained of herein pertaining to the misuse and/or disclosure of Plaintiff(s)’ and

                Class Members’ Private Information, and from refusing to issue prompt, complete

                and accurate disclosures to Plaintiff(s) and Class Members;

           c) For equitable relief compelling Defendant to utilize appropriate methods and

                policies with respect to consumer data collection, storage, and safety, and to




                                                 47
         Case 1:24-cv-01377-BAH Document 1 Filed 05/10/24 Page 48 of 48



               disclose with specificity the type of Private Information compromised during the

               Data Breach;

           d) For equitable relief requiring restitution and disgorgement of the revenues

               wrongfully retained as a result of Defendant’s wrongful conduct;

           e) Ordering Defendant to pay for not less than ten years of credit monitoring services

               for Plaintiff(s) and the Class;

           f) For an award of actual damages, compensatory damages, statutory damages, and

               statutory penalties, in an amount to be determined, as allowable by law;

           g) For an award of attorneys’ fees and costs, and any other expense, including expert

               witness fees;

           h) Pre- and post-judgment interest on any amounts awarded; and

           i) Such other and further relief as this court may deem just and proper.

                                  JURY TRIAL DEMANDED

     Plaintiff(s) demand a trial by jury on all claims so triable.


Dated: May 10, 2024                              Respectfully submitted,

                                                 /s/ Gary E. Mason
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                                                   48
